                         IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                                 GREENVILLE DIVISION


LASHON FRY & MARSHA BAYNES,                                                                PLAINTIFFS

VERSUS                                                 CIVIL ACTION NO. 4:08CV150-WAP-DAS

ALFRED LOVE AND SOUTHEASTERN
BULK BAG CONNECTION, INC.,                                                               DEFENDANTS


                   ORDER ADOPTING REPORT AND RECOMMENDATIONS

          On consideration of the file and record of this action, the court finds that the Report and

Recommendations of the United States Magistrate Judge dated February 22, 2010, was on that date duly

served upon the parties; that more than fourteen days have elapsed since service of said Report and

Recommendations; and that no objection thereto has been filed or served by any party. The court is of the

opinion that the magistrate judge's Report and Recommendations should be approved and adopted as the

opinion of the court. It is, therefore

      ORDERED:

        1. That the Report and Recommendations of the United States Magistrate Judge dated February

        22, 2010, are hereby approved and adopted as the opinion of the court.

        2. That this case is dismissed without prejudice for lack of subject matter jurisdiction.

        THIS, the 25th day of March, A.D., 2010.



                                                         /s/ W. Allen Pepper, Jr.
                                                         W. ALLEN PEPPER, JR.
                                                         UNITED STATES DISTRICT JUDGE
